Case 1:13-cv-12615-.]GD Document 348 Filed 04/12/18 Page 1 of\ZYQ/Q¢/
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UN|TED STATES D|STR|CT COURT C:> § /' /’L‘/H,L
DISTRICT OF MASSACHUSETTS / '
ADR|ANA GUZl\/lAl\l,
P|aintiff,
V. ClV|L ACT|ON

NO. 13-12615-JGD
THE BOElNG COIVIPANY,

-._r~._r~._'~._,\...~`_¢-_¢--_’

Defendants.

]URY VERDICT FOR|VI

1. Did l\/ls. Guzman prove by a preponderance of the evidence that she sustained injuries
proximately caused by the rapid decompression on October 26, 2010?

Yes No

if ”Yes" go to Question 2. if ”No” you have reached a verdict Please sign and date this
lury \/erdict Form and advise the court o]j‘icer that you have reached a verdict

2. What is the amount of damages that Wil| fairly and reasonably compensate i\/|s. Guzman
for the injuries proximately caused by the rapid decompression on October 26, 2010?

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lAmount in vvords)

 

5 3,@00,000`00
(Amount in numbers)

 

Proceed to Question 3.

3. Did The Boeing Company prove, by a preponderance of the evidence, that |Vis. Guzman
failed to take efforts that a reasonably prudent person in the circumstances Would have
taken to mitigate her damages?

Yes ',¢ No

Case 1:13-cv-12615-.]GD Document 348 Filed 04/12/18 Page 2 of 2

if ”Yes” go to Question 4. if ”No” you have reached a verdict Piease sign and date this
Jury Verdict Form and advise the court officer that you have reached a verdict

4. What is the amount of damages |\/|s. Guzman would have avoided if she had made such
reasonable efforts to mitigate her damages?

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(Amount in Words) l

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(Amount in numbers)

 

This amount will be subtracted from the amount found in response to O_uestion 2, to
determine the amount that |Vis. Guzman will be awarded.

When you have completed this Jury Verdict Form in accordance With the directions set forth
above, sign and date the form and notify the court security officer that you have reached a
verdict

iHEREBY CERT|FY THAT EACH OF THE QUEST|ONS ANSWERED ABOVE WAS ANSWERED
BY ALL OF THE JURORS.

Date: j fl<}[;loi$ 441£’»£'£3461 ¢é)),¢,a»<.<;,{

Foreperson of the Jury

 

